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                        EXHIBIT A




                                                                                       UBSXP01
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 Counsel for UBS Securities LLC and UBS
 AG London Branch

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
In re                                        §
                                             §
                                                                           Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,1          §
                                             §
                                                                    Case No. 19-34054-sgj11
          Debtor.                            §
                                             §
UBS SECURITIES LLC and UBS AG LONDON BRANCH, §
                                             §
          Plaintiffs,                        §
                                             §
                                                                     Adversary Proceeding
v.                                           §
                                             §
                                                                          No. 21-03020
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
          Defendant.                         §
                                             §
   DECLARATION OF KATHRYN K. GEORGE IN SUPPORT OF UBS’S REPLY IN
       FURTHER SUPPORT OF ITS MOTION FOR EXPEDITED HEARING
         ON FOREIGN NON-PARTY SENTINEL REINSURANCE, LTD.’S
                  MOTION FOR PROTECTIVE ORDER

   1
      The last four digits of the Debtor’s taxpayer identification number are 6725. The Debtor’s
headquarters and service address is 300 Crescent Court, Suite 700, Dallas, TX 75201.




                                                                                                   UBSXP02
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       I, Kathryn K. George, declare as follows:

       1.      I am an associate at Latham & Watkins LLP and one of the counsel of record in

this case for Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”). I

have personal knowledge of the facts in this Declaration, which I submit in support of UBS’s Reply

in Further Support of Its Motion for Expedited Hearing on Foreign Non-Party Sentinel

Reinsurance, Ltd.’s Motion for Protective Order. If called upon to do so, I could and would

competently testify to these facts.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of a letter produced to UBS

by the Debtor, Highland Capital Management, L.P., during discovery in this adversary matter,

dated August 30, 2021 from Sentinel Reinsurance, Ltd.’s board of directors to the Debtor.2



I declare under penalty of perjury that the foregoing is true and correct.

Executed on: September 15, 2021               /s/ Kathryn K. George
                                              Kathryn K. George




   2
       Although the letter is stamped “CONFIDENTIAL,” UBS obtained the Debtor’s written
consent to file it publicly as part of this submission.


                                                  2

                                                                                                     UBSXP03
